Case 19-14428-JNP          Doc 8      Filed 04/09/19 Entered 04/09/19 23:22:13           Desc Main
 UNITED STATES BANKRUPTCY COURT
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 DISTRICT OF NEW JERSEY

 Caption in Compliance with D.N.J. LBR 9004-1(b)

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 In Re:                                                 Case No.:          ______________________
                                                                               19-14428 (JNP)
  FOULA LEMBESIS                                         Judge:          ______________________
                                                                          Jerrold N. Poslusny, Jr.

                                                        Chapter:                    7



                 CHAPTER 13 DEBTOR=S CERTIFICATION IN OPPOSITION


      The debtor in this case opposes the following (choose one):

      1.       ☐ Motion for Relief from the Automatic Stay filed by _____________________________
                                                                             Mr. Cooper           ,
               creditor,

               A hearing has been scheduled for ____________________________,
                                                        April 16, 2019        at __________.
                                                                                  10:00 a.m


               ☐ Motion to Dismiss filed by the Chapter 13 Trustee.

               A hearing has been scheduled for ____________________________, at ___________.


               ☐ Certification of Default filed by _______________________________,

               I am requesting a hearing be scheduled on this matter.


          2.   I oppose the above matter for the following reasons (choose one):

               ☐ Payments have been made in the amount of $ ___________________, but have not
               been accounted for. Documentation in support is attached.
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              ☐ Payments have not been made for the following reasons and debtor proposes
              repayment as follows (explain your answer):




              ☐ Other (explain your answer):
              I am applying for a mortgage loan modification and have begun paying the
              monthly mortgage payments again. I want to stay in my home.



      3.      This certification is being made in an effort to resolve the issues raised in the certification
              of default or motion.

      4.      I certify under penalty of perjury that the above is true.



Date: _______________________
      April 9, 2019                                               ______________________________
                                                                   /s/ Foula Lembesis
                                                                  Debtor=s Signature

Date: _______________________                                     ______________________________
                                                                  Debtor=s Signature




NOTES:

1.    Under D.N.J. LBR 4001-1(b)(1), this form must be filed with the court and served on the Chapter
      13 Trustee and creditor, if applicable not later than 7 days before the date of the hearing if filed in
      opposition to a Motion for Relief from the Automatic Stay or Chapter 13 Trustee=s Motion to
      Dismiss.

2.    Under D.N.J. 4001-1 (b)(2), this form must be filed with the court and served on the Chapter 13
      Trustee and creditor, if applicable not later than 14 days after the filing of a Certification of
      Default.




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